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                IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KIMBERLY AUMAN                                    :
309 Lynn Street                             :
Robesonia, PA   19551                       :
                    Plaintiff               :
     vs.                                    :
                                            : CIVIL ACTION - LAW
LEEANNE H. JOHNSON                          :
755 11th Ave. E.                            :
Vancouver British Columbia V5T2E4           :
Canada                                      :
and                                         :
SUN RICH FRESH FOODS, INC.                  :
22151 Fraser Wood Way                       :
Richmond British Columbia V6W1J5            :
Canada                                      :
                   Defendants               :


                              COMPLAINT


     This case is the result of a collision caused by defendant

Leaanne H. Johnson (hereinafter referred to as Johnson), turning

across the path of the Plaintiff, who had the right of way,

causing injuries to the plaintiff.     Defendant Johnson was at that

time acting as the employee, agent and/or servant, of defendant

Sun Rich Fresh Foods, Inc. (hereinafter referred to as Sun Rich).


PARTIES:

     1.    Plaintiff, Kimberly Auman is an adult individual who

resides at 309 Lynn Street in Robesonia, Berks County,

Pennsylvania.   2.   Defendant Leeanne H. Johnson is an adult

individual with an address of 755 11th Ave. E., Vancouver British
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